                     Case 3:04-cr-00351-ADC                  Document 271          Filed 12/02/05         Page 1 of 5
sAO 2458     (Rev.06/05)Judgmartin a
             SheetI



                                              ITED STATBSDISTRICT COUNT
                                                              District of                           PUERTORICO
         TINTTEDSTATES OF                                            JUDGMENT IN A CRIMINAL CASE
                           v.            I
           JAIME MENDOZA.MEDINA                                      CaseNumber:                     04-cR-351(SEC)
                                                                     USM Number:                     t4

                                                                     LYDIA LIZARRIBAR-BUXO
                                                                     Defendant'sAttomev
THE DEFENDAIIT:
X pleadedguiltyto count(s)       (l          and(3) THREEon JUNE 16,2005

! pleaded nolo contendereto count(s)
  which was acceptedby the court.

! was found guilty on count(s)
  after a plea of not guilty.

The defendant is adjudicated guilty of        offenses:

Title & Section                       fense                                                          OffenseEnded             Count
I 8: 1e56(a)(
           1)(B)(i)and(h) A/A IN      LAUNDERINGOF MONETARY INSTRUMENTS                                 IO/I5IO4                I
                              A    ..C''FELONY.
l8:982                        MONEY LTNDERING- CRIMINAL FORFEITURE                                        rclr5/04               J


                                         i
                                         I
       The defendant is sentenced as prQvided in pages 2 through            5       of this judgment. The sentenceis imposed pursuant to
             ReformAct of 1984.
the Sentencing
                                  i
I The defendanthasbeenfound not Surftf on count(s)
D Count(s)                                            n is     n are dismissedon themotionof theUnited States.




                                                                     Dateof Impositionof Judgment


                                                                     S/ Salvedor F. Casellas
                                                                     SignatureofJudge




                                                                     SALVADORE. CASELLAS.U.S.DISTRICTruDGE
                                                                     Name and Title of Judge



                                                                     DECEMBER2.2OO5
                                                                     Date
                    Case 3:04-cr-00351-ADC               Document 271             Filed 12/02/05        Page 2 of 5
AO 2458    @ev.06/05)Judgmentin Criminal
           Sheet2 - Imprisonment

                                                                                                  Judgment- Page -!-   of   5
DEFENDANT:                 JAIME          -MEDINA
CASENUMBER:                04-cR-3511 4XSEC)

                                                        IMPRISONMENT

           The defendantis herebycorlrmittedto the custodyof the United StatesBureauof Prisonsto be inrprisonedfor a
total termof:     87 MONTHS.        I



      X     The court makesthe followiingrecommendations
                                                       to the Bureauof Prisons;
            1.That this sentencebp servedconcurrentlywith the sentencepending     revocationin the Supreme
                                                                              for revocl
                                                                         lrng lor
               Court Kings Countf, Brooklyn, New York, Criminal CaseNo. IND  15359-95.
                                                                         ND 15359-95.
            2.That the defendantpe affordeda substanceabusepfogrqm while in federalprison.
            3. That the defendantberyeshis sentencein Fort Dix,New Jersey.

      X     The defendant is remanded to the custodv of the United States Marshal.
                                           I
      tr    The defendantshall surrenderto the United StatesMarshalfor this distict:

           nat                                 tr a.m. E p.*            on
           las notifiedby theUnitedSiatesMarshal.
                                           I
      D     The defendantshall sunendFrfor serviceof sentenceat the institution designatedby the Bureauof Prisons:

           [before 2 p.m. on

           nas notifiedby theUnitedStatesMarshal.
                                      j
           flas notifiedby theProbatioriorPretrialServicesOffice.
                                           I
                                      I    I
                                           I



                                                              RETURN
I haveexecutedthisjudgmentas followf:
                                   '




            Defendant delivered

AI                                              , with a certified copy of this judgment.



                                                                                               LNITED STATESMARSHAL


                                                                      By
                                                                                            DEPUry I.]NITEDSTATESMARSHAL
                           Case 3:04-cr-00351-ADC                 Document 271             Filed 12/02/05          Page 3 of 5
AO 2458         (Rev. 06/05) Judgmentin a Crimi
                Sheet3 - Suoervised Release
                                                                                                              Judgment-Page -3-        of -5-
DEFENDANT:                       JAIME                  -MEDINA
CASENUMBER:                      04-cR-351(XSEC)
                                                           SUPERVISEDRELEASE
                                                           releasefor a termof :
                           thedefendantshallbe on supervised
Uponreleasefrom imprisonment,                                                                              THREE (3) YEARS.




                                                  i
    The defendantmust report to the drobationoffice in the district to which the defendantis releasedwithin 72 hoursof releasefrom the
custodyofthe BureauofPrisons.       l
                                                  I
The defendantshallnot commitanothe{federal,stateor local crime.
The defendantshallnot unlawfullvposdess   a contolled substance.The defendantshallrefrainfrom anyunlawfuluseof a contolled
substance.The defendantshall sribinit fo one drug test within 15 daysof releasefrom imprisonmentanil at leasttwo periodic drug tests
thereafter,asdeterminedby the court.
tr          The abovedrugtestingconditionis suspended,                              that thedefendantposesa low risk of
                                                     basedon the court'sdetermination
                          abuse.(Check,if applicable.)
            futuresubstance
X           The defendantshall not possessa fuearrn,ammunition,destructivedevice,or any otherdangerousweapon. (Check,if applicable.)
X           The defendantshallcooperatein the collectionof DNA asdirectedby theprobationofficer. (Check,if applicable.)
 !          The defendantshall register*ittr +r" statesexoffenderregistrationagencyin the statewherethe defendantresides,works, or is a
            student,asdirectedby theprobatipnofficer. (Check,if applicable.)
 !          The defendantshallparticipatein bn approvedprogramfor domesticviolence.(Check,if applicable
                                                                                                      .)
    If thisjudgmentimposesa fine or fiestitution,it is a conditionof supervised
                                                                              releasethatthe defendantpay in accordance
                                                                                                                      with the
Scheduleof Palmentsslieetof thisjudgment.
     The defendantmust comply with sre standardconditionsthat havebeenadoptedby this court aswell aswith any additionalconditions
on the attachedpage.
                                                  i
                                            STIANDARDCONDITIONS OF SUPERVISION
      1)     the defendant shall not leave thq judicial district without the permission of the court or probation officer;
      2)     thedefendant shall report to therprobation officer and shall submit a tuthful and complete written report w'ithin the first frve days of
             each month:
      3)     the defendant shall answer truthfully all inquiries by the probation oflicer and follow the instructions of the probation officer;
      4)     the defendant shall support his dr her dependents and meet other family responsibilities;
      5)'    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, taining, or other
             acceptablereasons;             ,
      6)     the defendant shall notiff the prpbation officer at least ten days prior to any change in residence or emplolmrent;
      7\-    the defendant shall refrain fromlexcessiveuse of alcohol and shall not purchase,possess,use, distribute, or administer any
             controlled substanceor any par4phernalia related to any controlled substances,eicept as prescribed by a physician;
      8)     the defendantshall not frequentlplaceswhere conbolled substancesare illegally sold, used, distributed, or administered;
      9)'    the defendant shall not associatewith any personsengagedin criminal activity and shall not associatewith any person convicted of a
             felony, unlessgranted permission to do s'o'bythe probaEon officer;
     10)'    the defendant shall permit a pro$ation offrcer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
             contrabandobserve'din plaii vitw of the probation officer;
     I l)    the defendant shall noti$r the prQbation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)     the defendant shall not "tr1.1 inlto any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court; and     :
     l3)'    as directed bv the probation offrcer. the defendantshall notifr third parties of risks that may be occasionedbv the defendant'scriminal
             record or pe.isonal history or clar'acteristics and shall penirit the probation officer to rilake such notificitions and to confirm the
             defendantrscornpliance liittr suph notification requiremint.
                  Case 3:04-cr-00351-ADC    Document 271      Filed 12/02/05    Page 4 of 5
AO 2458   (Rev.06/05)Judgmentin a
          Sheet3A - SupervisedRelease
                                                                            Judgment-Page -4-   of -5-
DEFENDANT:             JAIME
CASENUMBER:                    4XSEC)
                       04-cR-351(

                               ADDITIONAL   SUPERVISED RELEASE TERMS


1. The defendantshall not conmit anotherFederal,state,or local crime, and observethe standard
          ofsupervised releasprecommendedby the United StatesSentencingCommissionand adoptedby
c-ond_ilions
this HonorableCourt.         j
2. The defendantshall not unlfwfully possess
                                           any controlledsubstances.
3. The defendantshall refrainjfrom possessing
                                            firearms,destructivedevices,and other dangerousweapons.
4. The defendantshall refrainlfrom the unlawful useof controlledsubstances, and submit to a drug test
within fifteen(15)daysof relefse;thereafter,submit to random drug test,not to exceed104samplesper
year accordancewith the Drug AftercareProgramPolicyof the U.S.ProbationOffice approvedby this
Court. If any suchsamplesdptectsubstanceabuse,the defendantshall participatein a drug treatment
program (in-patientor out-pa$ent), arrangein accordancewith suchpolicy.The defendantis requiredto
contribute to the costof seryicQsrendered(co-payment)basedon the ability to pay or availability of third
party payments,as approved{y the Court.
5. The defendantshall submit lis person,residence,office or vehicleto a search,conductedby a U.S.
Probation Officer at a       le time and in a reasonablemanner,basedupon reasonablesuspicionof
contrabandor evidenceof a    lation of condition of release;failure to submit to a searchmay be grounds
for revocation;the defendant all warn any other residentsthat the premisesmay be subjectto searches
pursuantto this condition. i
6. The defendantshall submi{ to a psychiatric and/or psychotogicalevaluafionto determineif treatment is
required,and if so,he shall engagein suchtreatmentas arrangedand approvedby the US ProbationOfficer
until duly dischargedby authdrizedprogram personnelwith the approvalof the probation officer.
                              t,
7. The defendantshall coopeiatein the the collectionof a DNA sampleas directedby the U.S.Probation
Officer, pursuantto the RevisqdDNA CollectionRequirements,and Title 18,U.S.Code3563(aX9).
AO2458
                     Case 3:04-cr-00351-ADC
           (Rev.06/05)Judgm€ntin a
                                                                 Document 271                Filed 12/02/05      Page 5 of 5
           Sheet5 - Criminal
                                                                                                       Judgment- Page ---l-      of -l-
DEFENDANT:                      JAIME MENDOZA-MEDINA
CASENUMBER:                     04-CR 1(l4XsEc)
                                            CRIMINAL MONETARY PENALTIES
     The defendantmustpay the total .qi-i*t         monetarypenaltiesunderthe scheduleof paymentson Sheet6,

                     Assessment                                             Fine                               Restitution
TOTALS            $ 100.00                                                                                 $


tr   The determinationof restitutionis {eferred until                  . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     aftersuchdetermination.

n    The defendantmustmakerestitutiofr(including communityrestitution)to the following payeesin the amountlisted below.

     If the defendantmakesa partialpavment.eachpayeeshallreceivean approximately    proportionedpayment,unlessspecifiedotherwisein
     thepriority orderor percbntage         coluninbelow. However,puislant to I 8 ILS.C. g 3664(i),-allnonfederalvictimsmustbe paid
                                   ila)l,menf
                                      -
     befrirethe-UnitedStdtesis paid.-

Name of Pavee                               Total Loss*                              Restitution Ordered                Prioritv or Percentase




TOTALS


n     Restitutionamountorderedpursu4ntto plea agreement $

!     The defendantmustpay interestoir restitutionanda fine of morethan$2,500,unlessthe restitutionor fine is paid in firll beforethe
      frfteenthdayafterthe dateof thejudgment,pursuantto l8 U.S.C.$ 3612(0. All of thepayrnentoptionson Sheet6 maybe subject
      to penaltiesfor delinquencyanddpfault,pursuantto l8 U.S.C.$ 3612(g).

tr    The court determinedthat the defdndantdoesnot havethe ability to pay interestandit is orderedthat:

      tr   the interestrequirementis waived for the          n       fine   n      restitution.

      !    the interestrequirementfor thp      tr     fine       n     restitutionis modified asfollows:

                                        i
* Findingsfor thetotalamouqtof lossgs requiredunderChapters109A,110,I l0A, and I l3A of Title 18for offensescommittedon or after
                                     {ue
Septemb-er 13, l994,but beforeApril 23, 199^6.
